 '~'V)
••
          V
                                Case 2:16-cr-00503-ER Document 72 Filed 03/11/20 Page 1 of 5
     AO 24SB (.Rev. 09/19) Judpm in a
                              Sbcctl
                                         &-
                                                 Case



                                               UNITED STATES DISTRICT COURT
                                                                                                    •
                                                            Eastern District of Pennsylvania
                      UNITED STATES OF AMERICA                                  ~      JUDGMENT IN A CRIMINAL CASE
                                                                                )
                                         "·
                                                                                ~      Case Number:               DPA'.E2: 16CR000503-001
                                DINO PAOLUCCI
                                                                                ~      USM Number:

                                                                                )      Irving Cohen                                     \
                                                                                )      Defendant's Attorney                                 ~
     THE DEFENDANT:                                                                                                                             ,.
     X pleaded guilty to count(s)             - __22s=,23=s,24;;.=.;~s&~2=Ss'----------------·'_.- _·_
                                                                                                     -~_-_ _ _ _ __
     D        pleaded nolo contendcre to COWJ.t(s)
              which was accepted bv the oourt.
     D        was found guilty on count(s)
              after a plea ofnot Rlliltv.

     The defendant is adjudicated guilty of these offenses:

     Title & Section                             Nature of Offense                                                              Offense Ended        Count
     :u:78j(b),78ff & l 7CFR 240. lOb-S & 2      ~urities fraud.                                                                 2013                 22s
      1S:78j(b),78ff& 17CFR240.10b-S & 2         Securities fraud.                                                               2013                 23s
      1S:78j(b),78ff& 17CFR 240.l0b-S cl 2       Securities fraud.                                                               2013                 24s
      1S:73j(b),781f& 17CFR240.10b-S & 2         Securities fraud.                                                               2013                 25s


                 The defendant is sentenced as provided in pages 2 through     _ _S__ of this judgment. The sentence is imposed pursuant to
     the Sentencing Reform Act of 1984.

         D    The defendant has been found not guilty on count(s)
         X Comlt(s) lsthrough21s&26s                         D   is    D     are dismissed on the motion of the United States.
                   It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
         r.e,idcnce, or mailing-~ until all ~'- ~stitution, co~ts, and special usessments imp~d by this_j1:1dgment are _fully paid. If ordered to
         pay restitution, the defendant must notify the comt and United States attoniey of material changes in economic circumstmces.

                                                                               December 10, 2019
                                                                               Dile ofJa,osition of Jud,Jnent
                                                 RECEIVED                     /)J2__                P.A:;E;:            A,,-S
                                                                                                                                            e



                                                     DEC I 8 29~             / siinmn   of Jud,:c
                                               U.S. Probatio~
                                               Eastem District of PA
                                                                               Hon. Eduardo C. Robreno, U.S. District Judge
                                                                               Name Ind Title of Judp

                                                                                             f"l.-/<o           /-i...o•Cj' •
AO 245B (Rev 09/19) Judgment in Criminal Case


 DEFENDANT:
                    Sheet 2 - Imprisonment

                             DINO PAOLUCCI
                                                    ~•
                          Case 2:16-cr-00503-ER Document 72 Filed 03/11/20 Page 2 of 5


                                                                                                                                2_
                                                                                                                Judgment-Page _ _                        of             s
                                                                                                                                                                                    ...


 CASE NUMBER:                DPAE2: 16CR000503-001


                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

                  84 MONTHS. This term of consists of 84 months on each of counts 22s,23s,24s & 25s, all terms to run concurrently, to
 produce a total term of 84 months .

                .   ~-
     x The cQUrt makes the following recommendations to the Bureau of Prisons:
-~--- --Itis recommend.ed-thaµhe Defendant be-designated to a facility-as-close-re-Mississauga, Ontarro{Canada)tlSJ)OSSibie:-- ---



       X The defendant is remanded to the custody of the United States Marshal.

       0   The defendant shall surrender to the United States Marshal for this district:
           0   at
                         -------- 0                  a.m.     0 p.m.        on
           0 as notified by the United States Marshal.

       0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 before 2 p.m. on
           0 as notified by the United States Marshal.
           0 as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
  I have executed this judgment as follows:
                                                                                  '"v,
                                                                                                      -1~:ti:~!~ ~--
                                                                                                           Baldw1n, Ml 49304

           Defendant delivered on

  at        i\\t?                                    , fflth a certified "'PY oftins
                                                                                   ~dgmcnt.

                                                                                    ~         .6~~tt FA-
                                                                                 ___...~---<---=::;:;urr1Nl;;il~ED~S~l;:;1t'fE:.;;~g;-i.:.:.,u:i.RB;:.;:l..:J:Ai..i""""_ _ _ _ __
i '   A:
      DEFENDANT:
                                Case 2:16-cr-00503-ER Document 72 Filed 03/11/20 Page 3 of 5
            24SB (Rev. 09/19) Judpcnt in a    cli
                                   DINO PAOLUCCI
                                                  Case
                               Sheet 3 - Supemsed Release                                       •           Jud~-Paac _ 3 _ of                5


      CASE NUMBER:                 DPAE2:16CR000503-001
                                                                                SUPERVISED RELEASE

      Upon release from imprisonment, you will be on supetvised release for a term of:

      No period of supervised release was imposed punuant to USSG S 5Dl.l(c)




                                 .. ,.,   .         . ~ ..... '""   '"' \
                                                                       '    .




                                                                            MANDATORY CONDITIONS
      1.      You must not commit another federal, ·state or local crime.
      2.      You must not unlawfully possess a controlled substance.
      3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
              imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                      D The above drug testing condition is suspended, based on the court's determination that you
                          pose a low risk of future substance abuse. (check if applicable)
      4.       D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
                    restitution. (check if applicable)
       5.      X    You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
       6.      D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
                  directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
                  reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
       7.       D You must participate in an approved program for domestic  .     .
                                                                               violence. (check if applicable)

       You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
       page.
    AO 245B (Rev 09/19)



     DEFENDANT:
                                                            •
                           Case 2:16-cr-00503-ER Document 72 Filed 03/11/20 Page 4 of 5
                          Judgment in I Criminal Case
                          Sheet S - Criminal Monetary Penalties

                                     DINO PAOLUCCI
                                                                                                                 ••
                                                                                                          Judgment- Page _    •_                        of

     CASE NUMBER:                    DPAE2: 16CR000503-001
                                                   CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment              Restitution                Fine                    AVM     Assessment*                       JVTA Assessment**
     TOTALS          S 400.00                 S 0.00                    S 0.00                   S 0.00                           S 0.00


     D    The ~tjrmination of restitution is deferred until _ _ _ _• An A.mended Judgment in a Criminal Case (A.O 245C) will be
          enterefafter such determination.

.__ ~D- The ~ust-m'lk:e restitution...(-mcludin;conµnunity•restitution) to the following~yees in the amount listed below.-..--- ., - ·• - -
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
          in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfcderal victims must be
          paid before the United States is paid.                                                                                   ·

      Name of Payee                             Total Loss***                        Restitution Ordered                      Priority or Percentace




      TOTALS                             s _________                             s
                                                                                                                        'j.,,~ . . .   0:-..   ..   -        ....   ·-




      0    Restitution amount ordered pursuant to plea agreement $
                                                                            ---------
      D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
           fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
           to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      D    The court determined that the defendant docs not have the ability to pay interest and it is ordered that:
           D     the interest requirement is waived for            D fin      D restitution.
            D the interest requirement for            D     fine    D      restitution is modified as follows:

       • Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
       •• Justice for Victims ofTraffi.clcing Act of 2015, Pub. L. No. 114-22.
       • •• Findings for the total amount of losses arc required under Chapters 109 A, 110, 11 0A, and 113 A of Title 18 for offenses committed on
       or after September 13, 1994, but before April 23, 1996.
AO 245B (Rev. 09/19}


 DEFENDANT:
 CASE NUMBER:
                        Case 2:16-cr-00503-ER Document 72 Filed 03/11/20 Page 5 of 5
                       Judgment in a   lru
                           DINO PAOLUCCI
                           DPAE2:16CR000503-001
                                                 Case
                       Sheet 6- Schedule of Pavmcnts                                        •              Judiuncnt- Paae --'-5_       of            s



                                                            SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    X    Lump sum payment of$ _400--'-.00
                                         _ _ __                   due immediately, balance due




 B    D
           D
           X
                not later than
                in accordance with D              C     0   D,
           Payment to begin immediately (may be combined with
                                                                      , or
                                                                  D E,or          X Fbelow;or

                                                                                 DC,    0D,or        D F below); or
                                                                                                                                ~\'-~,· t:,
                                                                                                                                      . ~-
                                                                                                                                        v ~
                                                                                                                                              ~
                                                                                                                                              .           ~

 C    •            .

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                                                 . ;
                                                                             1
                                                                                                                                                          __ ,... -·.
                          (e.g., months or years), to commence       _ _ _ _ (e.g, 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ over a period of
                      (e g.. months or years), to commence _ _ _ _ (e g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or

 E     D Payment during the term of su~rvised release will commence within _ _ _ _ (e.g. , 30 or 60 days) after release from
         imprisonment. The court will set the payment plan-based on an assessment of the defendant's ability to pay at that time; or

 F     X    Special instructions regarding the payment of criminal monetary penalties, including forfeiture money judgment:
            The special assessment and forfeiture money judgment of$2,000,000 are due immediately.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
 Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



  D Joint and Several
       Case Number
       Defendant and Co-Defendant Names                                                      Joint and Several                 Corresponding Payee,
       (including defendant number)                              Total Amount                     Amount                           if appropriate




  D    The defendant shall pay the cost of prosecution.

  D    The defendant shall pay the following court cost(s):

  X    The defendant shall forfeit the defendant's interest in the following property to the United States:

       $2,000,000 in United States currency.

  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
  (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (I 0) costs, including cost of
  prosecution and court costs.
